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     Attorneys for Plaintiffs
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16                                  UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
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18
     WB MUSIC CORP., et al.                                 )   Case No: 5:16-cv-00600-JGB(SPx)
19                                                          )
             Plaintiffs,                                    )   ACKNOWLEDGEMENT OF
20                                                          )   SATISFACTION OF JUDGMENT
21           v.                                             )
                                                            )   Jury Verdict: March 13, 2018
22   ROYCE INTERNATIONAL                                    )
     BROADCASTING CORP., et al.,                            )   The Hon. Jesus G. Bernal
23                                                          )   Courtroom: 1
             Defendants.                                    )
24                                                          )
25                                                          )
                                                            )
26                                                          )
                                                            )
27                                                          )
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     ________________________________________________________________________________________________________________________
                                      ACKNOWLEDGEMENT OF SATISFACTION OF JUDGMENT
 Case 5:16-cv-00600-JGB-SP Document 455 Filed 07/23/21 Page 2 of 4 Page ID #:9034




 1           TO THE CLERK OF THE ABOVE-ENTITLED COURT:
 2           Plaintiffs WB Music Corp., et al. (“Plaintiffs”) hereby give notice that the
 3   Third Amended Judgment entered on May 20, 2021 (Dkt. 429), in favor of Plaintiffs
 4   and against Defendants Royce International Broadcasting Corporation, Playa Del Sol
 5   Broadcasters, Silver State Broadcasting, LLC, Golden State Broadcasting, LLC, and
 6   Edward R. Stolz, II in this action, has been satisfied. Plaintiffs therefore respectfully
 7   request that the Clerk of this Court make proper entries and recordings to effect full
 8   satisfaction of judgment.
 9
10
11   Dated: July 23, 2021                                   ARNOLD & PORTER KAYE SCHOLER LLP
12
13
                                                            By: /s/ Sharon D. Mayo
14                                                              Sharon D. Mayo
15
                                                            Sharon D. Mayo
16                                                          Laura E. Watson
                                                            ARNOLD & PORTER KAYE SCHOLER LLP
17
18                                                          Jackson Wagener (pro hac vice)
                                                            AMERICAN SOCIETY OF COMPOSERS,
19                                                          AUTHORS AND PUBLISHERS
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                                                            Attorneys for Plaintiffs
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     _______________________________________________________________________________________________________________________
                                      ACKNOWLEDGEMENT OF SATISFACTION OF JUDGMENT
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 1                                  CERTIFICATE OF CERTIFICATE
            I am over eighteen years of age and not a party to this action. I am employed
 2
     in the County of Los Angeles, State of California. My business address is 777 South
 3   Figueroa Street, Forty-Fourth Floor, Los Angeles, California 90017-5844.
 4          I hereby certify that on July 23, 2021 I electronically filed the documents
 5   entitled ACKNOWLEDGEMENT OF SATISFACTION OF JUDGMENT with
     the Clerk of the Court using the CM/ECF system and said document was served in
 6   the manner stated below:
 7
           By Mail (CCP § 1013.a, et seq.): I enclosed said document(s) in a seal
 8   envelope or package to each addressee listed below. I placed said envelope for
     collection and mailing, following our ordinary business practices. I am readily
 9
     familiar with the firm’s practice of collection and processing correspondence for
10   mailing. On the same day that correspondence is placed for collection and mailing, it
     is deposited in the ordinary course of business with the U.S. postal service with
11
     postage fully prepaid.
12
           By Court Via Notice of Electronic Filing (NEF): The document(s) was
13   served by the court via NEF and hyperlink to the document. On July 23, 2021, I
14   checked the CM/ECF docket for this case or adversary proceeding and determined
     that the person(s) listed below is/are on the Electronic Mail Notice List to receive
15   NEF transmission at the email addresses indicated below:
16
      G. Scott Sobel                                     GScottSobel@gmail.com
17
      Fred D. Heather                                    fheather@glaserweil.com
18
      Rory S. Miller                                     rmiller@glaserweil.com
19
20           By Electronic Service (E-mail) (CRC § 2.251(c)(3)):
21
              I caused the document(s) to be sent from e-mail address
22   Guadalupe.saldana@arnoldporter.com to each addressee’s email address as set forth
     above or on the attached service list. I did not receive, within a reasonable time after
23
     the transmission, any electronic message or other indication that the transmission was
24   unsuccessful.
25
            I caused the document(s) to be served upon the above-interested party(ies)
26   using a court approved electronic filing service provider to the electronic service
27   address.

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     _______________________________________________________________________________________________________________________
                                      ACKNOWLEDGEMENT OF SATISFACTION OF JUDGMENT
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 1
           By Overnight Delivery (CCP §§ 1013(c)(d), et seq.: I enclosed said
 2   document(s) in a sealed envelope or package provided by an overnight delivery
 3   carrier to the following address(es). I placed the envelope or package, delivery fees
     paid for, for collection and overnight delivery at our office for pick up by the carrier
 4   on the same day.
 5
          By Personal Service: I enclosed said document(s) in a sealed envelope or
 6   package to the following address(es). I provided them to a professional messenger
 7   service for service to be delivered by hand to the offices of the addressee(s).

 8        State I declare under penalty of perjury under the laws of the State of
 9   California that the foregoing is true and correct.

10         Federal: I declare that I am employed in the office of a member of the bar of
11   this court at whose direction the service was made.

12   Dated: July 23, 2021                        Signature:                 Lupe Saldana                           .
13                                                                              Lupe Saldana
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     _______________________________________________________________________________________________________________________
                                      ACKNOWLEDGEMENT OF SATISFACTION OF JUDGMENT
